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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS              )         Case No. 3:19-md-2885
 EARPLUG PRODUCTS LIABILITY )
 LITIGATION                         )
                                    )         Judge M. Casey Rodgers
 This Document Relates to All Cases )
                                              Magistrate Judge Gary R. Jones
                                    )

                  DEFENDANTS’ MOTION TO COMPEL
                AGAINST THE DEPARTMENT OF DEFENSE

       Defendants move that the Court compel the Department of Defense to

produce: (1) the noise and ototoxin exposure data discussed below; (2) sales and

distribution data for the CAEv2; (3) documents related to the annual Military

Audiology Association “Short Course” meetings from 1999 to 2005; and (4) testing

data on other hearing protection devices distributed to the Group A bellwether

plaintiffs.

                                BACKGROUND

       The Department of Defense has had many months to response to the

document requests at issue in this motion. Defendants submitted their first Touhy

request to the Department of Defense over fifteen months ago, on June 21, 2019.

(Ex. A.) The request covered, among other things, the noise and ototoxin exposure

data and the sales and distribution data that Defendants seek in this motion. (Id.)

Defendants submitted another Touhy request more than six months ago, on March
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17, 2020, that requested the Short Course documents sought in this motion. (Ex.

B.) And on August 7, 2020, Defendants requested testing data related to the

hearing protection devices other than the CAEv2 that the bellwether plaintiffs wore

during their service. (Ex. C.)

      Pursuant to the Court’s order, Defendants served the Department with a

subpoena for these documents on September 4, 2020, which requested production

by September 23. (Ex. D.) The Department made no response, and Defendants

now move to compel production.

                                   ARGUMENT

      In the Eleventh Circuit, courts review the government’s responses to

discovery requests, whether subpoenas or Touhy requests, under the Administrative

Procedure Act. See Moore v. Armour Pharm. Co., 927 F.2d 1194, 1197 (11th Cir.

1991). The APA permits courts to “compel agency action unlawfully withheld or

unreasonably delayed.” 5 U.S.C. § 706(1). The Department has unreasonably

delayed all production of the documents discussed herein, and the Court should

compel their production at the earliest possible date.

         A. The Department Has Unreasonably Delayed In Producing Noise
            And Ototoxin Exposure Data, Including Health Hazard
            Assessments.




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      Judge Jones concluded in July that the Department has unreasonably delayed

in producing the noise and ototoxin exposure data, and the delay has not become any

more reasonable in the subsequent two months. Dkt. 1292 at 25.

      On June 21, 2019, Defendants submitted Touhy requests for eight categories

of noise and ototoxin exposure data, including, for example, “[n]oise dosimetry data

or other documents regarding the amount of noise service members are exposed to

in particular specialties, in particular situations, or when operating particular

weapons.” (Ex. A, at 10-11.) At the Department’s request, on July 26, 2019,

Defendants resubmitted that Touhy request to adhere to the Department’s preferred

formatting. (Ex. E, at 12-13.) In subsequent telephonic discussions, Major Evans

stated that he had been unable to locate the information and believed it did not exist.

In response, on March 17, 2020, Defendants submitted a supplemental Touhy request

that specifically identified potential sources of this information, and noted that the

Army’s regulations require that it be collected. (Ex. B, at 3.) All of Defendants’

requests for this information remain “open” and unanswered.               Indeed, the

Department sent a “comprehensive” update letter on June 26, 2020 stating that the

Department had not even begun “processing” the March 17, 2020 request because it

was still working on the earlier request from July 2019. (Ex. F, at 3.)

      Notwithstanding the government’s suggestion that the requested data may not

exist, noise exposure data is required by various Department regulations. For



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example, pursuant to Army Pamphlet 40-501, Hearing Conservation Program: the

Industrial Hygiene Program Manager at every Army installation must, among other

thing, (i) survey all known and suspected noise-hazardous areas and equipment and

ototoxic exposures, (ii) maintain a current inventory of all noise-hazardous areas,

(iii) compile the names and Social Security numbers of noise-exposed and ototoxic-

exposed personnel and the magnitude of their noise exposure, and (iv) track noise

exposure violations for inclusion on a violation inventory log. (Dkt. 1071, Ex. 8 at

1-4.) Similarly, the regulations require Hearing Conservation Officers to, among

other things, (i) notify noise-exposed and ototoxin-exposed personnel of their

exposures, and (ii) ensure that noise-exposed and ototoxin-exposed personnel wear

noise and ototoxin dosimeters when requested. (Id.) Defendants understand that,

pursuant to these regulations, the Army collects the required data and calculates the

average daily noise exposure of individuals working in each military occupational

specialty.

      Other public documents confirm that the Army has the data the regulation

requires it to collect. The website of the Army Public Health Center notes that,

consistent with the regulation, “Army industrial hygienists are responsible for

conducting noise surveys in the workplace to identify military and civilian workers

potentially exposed to noise hazards.” (Ex. G.) A factsheet for the Department’s

industrial hygiene database (DOEHRS-IH) explains that two “key features” of the



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database are that it “[c]aptures comprehensive, operational and work task potential

exposures-based medical surveillance recommendations,” and “[t]racks DoD

lifetime personnel exposure data.” (Ex. H.) It also says a “key benefit” of the

database is that it “[c]aptures information to monitor compliance with occupational

health and safety federal law and directives.” (Id.) The 2006 book Noise and

Military Service: Implications for Hearing Loss and Tinnitus, published by the

National Academies of Sciences, observes that each “Army installation evaluates

work environments for potential noise hazards from steady-state noise in industrial-

type operations.    Since 1988, the sound pressure level and noise dosimetry

measurements have been collected . . . .” (Ex. I, at 76.)

      In addition to the average daily noise-exposure data discussed above,

Department regulations also require that the military determine the noise exposures

caused by individual weapons systems and transport vehicles. In particular, per

Department regulations, the Army performs health hazard assessments (“HHAs”) on

the following military systems: “weapons platform, munitions, equipment, clothing,

training devices, and other materiel systems.” (See Ex. J, Army Regulation 40-10,

Health Hazard Assessment Program in Support of the Army Acquisition Process, at

§ 1-5.)   According to the Army regulation, an HHA is “[t]he application of

biomedical knowledge and principles to document and quantitatively determine the

health hazards of Army systems.” (Id. at 25.) “This assessment identifies, evaluates,



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and recommends controls to reduce risks to the health and effectiveness of personnel

who test, use, or service Army systems,” and includes within itself: “(a) [t]he

evaluation of hazard severity, hazard probability, risk assessment, consequences,

and operational constraints[,] (b) [t]he identification of required precautions and

protective devices[,] [and] (c) [t]raining requirements.”     (Id.)   Health hazards

addressed in the HHA include, among other things: “[a]coustic energy (steady-state

noise, impulse noise, and blast overpressure),” including, for example, “[c]ontinuous

noise from engines and helicopter rotors,” “[i]mpulse noise from shoulder-fired

weapons,” and “[b]last overpressure created from the firing of mortars, towed

artillery, and heavy weapons on crew-served vehicles.” (Id. at C-2.)

      Thus, HHAs should exist for, among other things, each weapon system

operated by the bellwether plaintiffs, and each military vehicle the bellwether

plaintiffs operated or were transported in. In an effort to assist the government’s

production of relevant HHAs, on May 20, 2020, Nick Wasdin of Kirkland & Ellis

provided Major Evans with the list of weapons the bellwether plaintiffs had

identified using in their bellwether selection sheets. (Ex. K, at 3-4.) The Department

has not yet produced any of the relevant HHAs.

      The Department has unreasonably withheld production of any of the noise and

ototoxin exposure data discussed above. By this motion, however, Defendants seek

just four categories of noise and ototoxin exposure data that Defendants understand



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exist based on their review of the Army regulations and other publicly available

materials:

      • First, average noise and ototoxin exposure per military occupational
        specialty. This data may be kept as average daily, weekly, monthly or
        yearly exposures.

      • Second, data regarding noise and ototoxin exposures at the bellwether-
        relevant Army installations. A list of the relevant installations and time
        periods is contained in Defendants’ June 3, 2020 Touhy request. (Ex. L.)

      • Third, the health hazard assessments for the weapons operated by the
        bellwether plaintiffs. A list of the bellwether-relevant weapons identified
        to date is contained in Defendant’s May 20, 2020 email to Major Evans.
        (Ex. K.)

      • Fourth, the “comprehensive, operational and work task potential
        exposures-based medical surveillance recommendations,” and “DoD
        lifetime personnel exposure data,” that are referred to in the promotional
        materials related to the DOEHRS-IH database. (Ex. H.)

          B. The Department Has Unreasonably Delayed In Producing Sales
             and Distribution Data For The CAEv2.

      Defendants requested data on when and where the military distributed the

CAEv2 in their very first Touhy request on June 21, 2019. The Department has yet

to provide any response. The data is clearly relevant to the litigation, as it can

confirm or deny the plaintiffs’ allegations that they received the CAEv2 at a

particular base at a particular time.

      Judge Jones already concluded that the Department has unreasonably

delayed producing the noise and ototoxin data, and the delay in producing the




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sales1 and distribution data is just as long. Though the Department previewed that

it would take time for them to provide this information, Defendants have patiently

waited for long enough. The data should be produced.

          C. The Department Has Unreasonably Delayed In Producing
             Documents “Short Course” Meetings.
       The Department has also unreasonably delayed in producing documents

related to the Military Audiology Association “Short Course” meetings from 1999

to 2005. On February 27, 2020, defendants took the deposition of LTC John

Merkley. During the deposition, LTC Merkley testified that Doug Ohlin had

discussions regarding the CAEv2 with “most of the Army audiologists” “at the

military audiology short course” conferences that Merkley attended between 2001

and 2005. (Ex. M (Merkley Dep. Tr.) at 105:4-107:2.) Based on that information,

on March 17, 2020, Defendants submitted a supplemental Touhy request seeking,

among other things, documents related to annual Military Audiology Association

Short Course meetings from 1999 to 2005. Over six months later, the Department

has yet to provide any documents in connection with this request, let alone any

explanation as to why they have yet to provide such documents. The Department’s

delay is particularly unreasonable given that the request is narrowly tailored to

documents related to seven total events.


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  The military may have purchased the CAEv2 not only from Defendants but also from various
third-party distributors.


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      Moreover, the requested documents are critically relevant to establishing the

military’s knowledge with respect to whether and when to roll back the flange of the

CAEV2s to improve fit. Indeed, LTC Merkley testified that, during these meetings,

Dr. Ohlin informed Army audiologists that some users might find it beneficial to roll

back the opposing flanges of the CAEv2 in order to obtain a better fit. (Id. at 98:4-

99:2.) Thus, any materials corroborating these discussions, and any discussions that

Dr. Ohlin may have had about the CAEv2s at Short Course meetings predating LTC

Merkley’s involvement, would demonstrate the military’s knowledge of the

product’s capabilities and limitations, which will be critical to Defendants’

sophisticated intermediary defense.

         D. The Department Has Unreasonably Delayed In Producing Testing
            Data On Other Hearing Protection Devices Used By the Group A
            Plaintiffs.
      Finally, the Department has unreasonably delayed in producing testing data

of other hearing protection devices used by the Group A Plaintiffs. On August 7,

2020, shortly after Plaintiffs served supplemental discovery responses and sat for

deposition, Defendants submitted a supplemental Touhy request seeking testing data

relating to non-Combat Arms hearing protection devices used by the Trial Group A

Plaintiffs. The Department has yet to provide a response.

      The request covers eighteen total hearing protection devices, each of which

has undisputed relevance given that the Trial Group A Plaintiffs testified to using



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such products during their military service.       Information about the relative

performance capabilities of these hearing protection devices as compared to the

CAEv2s is necessary to evaluate the Trial Group A Plaintiffs’ other noise exposures

as well as other potential causes of their alleged injuries. The Department’s failure

to provide any information, including whether they even intend to respond to

Defendants’ request, is unreasonable.

                                 CONCLUSION

      For the foregoing reasons, Defendants respectfully request the Court compel

the production of the information and documents identified above.

Dated: October 2, 2020                   Respectfully submitted,


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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      I HEREBY CERTIFY that this brief complies with the word limit of Local

Rule 7.1(F), and contained 1,994 words, excluding the parts exempted by the Rule.



Dated: October 2, 2020
                                       /s/Robert C. Brock
                                       Robert C. “Mike” Brock




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    CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      On September 28, 2020, counsel for Defendants, Mark Nomellini, spoke

with counsel for the United States, Josh Kolsky of the Department of Justice. Mr.

Kolsky could not commit that the Department of Defense would produce the

requested documents. Mr. Kolsky also stated that Defendants should await the

Department’s objection letter, and that the Department had not been properly

served. Mr. Nomellini responded that Defendants could not await the objection

letter because of the litigation schedule, and that Defendants had properly served

the general counsel of the Department of Defense via certified mail. See Ex. N.



Dated: October 2, 2020
                                        /s/Robert C. Brock
                                        Robert C. “Mike” Brock




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                         CERTIFICATE OF SERVICE

      I, Robert C. Brock, hereby certify that on October 2, 2020, I caused a copy of

Defendants’ Motion to Compel Against the Department of Defense to be submitted

via email to Tevenia Jacobs, law clerk to Judge Rodgers. Jacqui Snead of the

Department of Justice and Major Nicole Kim of the Department of Defense were

copied on that email.



Dated: October 2, 2020
                                        /s/Robert C. Brock
                                        Robert C. “Mike” Brock




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